             Case 2:11-cr-00490-DAD Document 94 Filed 01/25/13 Page 1 of 3


 1
 2
 3
                            IN THE UNITED STATES DISTRICT COURT
 4
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 5
 6
     UNITED STATES OF AMERICA,            ) Case No. CR-S-11-0490 JAM
 7                                        )
                            Plaintiff,    ) WAIVER OF DEFENDANT’S
 8                                        ) PERSONAL APPEARANCE; ORDER
           v.                             ) THEREON
 9                                        )
                                          )
10                                        ) Judge: HON. JOHN A. MENDEZ
     SVETLANA MARKEVICH                   )
11                                        )
                  Defendants.
12   __________________________
13         Pursuant to Rule 43 of the Federal Rules of Criminal
14   Procedure, the following defendant hereby waives the right to
15   be present in person in open court upon the hearing of any
16   motion or other proceeding in this case, including, but not
17   limited to, when the case is set for trial, when a
18   continuance is ordered, and when any other action is taken by
19   the court before or after trial, specifically, appearances
20   for any hearing regarding modification of conditions of
21   supervised release, except upon arraignment, plea,
22   impanelment of jury and imposition of sentence.
23         Defendant hereby requests the Court to proceed during
24   every absence which the Court may permit pursuant to this
25   waiver; agrees that defendants’s interest will be deemed
26   represented at all times by the presence of the defendants’s
27   attorney, the same as if the defendants were personally
28   Waiver of appearance
             Case 2:11-cr-00490-DAD Document 94 Filed 01/25/13 Page 2 of 3


 1   present; and further agrees to be present in court ready for
 2   trial any day and hour the court may fix in the defendants’s
 3   absence.
 4         The defendants further acknowledge being informed of the
 5   rights under Title 18 U.S.C. §§ 3161-3174 (Speedy Trial Act),
 6   and authorizes the defendants’s attorney to set times and
 7   dates under that Act without the defendant’s personal
 8   presence.
 9         The original signed copy of this waiver is being
10   preserved by the attorneys undersigned.
11
12   Dated: May 1, 2012
13
14
                                                SVETLANA MARKEVICH
15                                   (Original retained by attorney)
16         I agree with and consent to my client's waiver of
17   appearance.
18   Dated: May 1, 2012
19                                      /s/ JULIA YOUNG
20                                      JULIA YOUNG
                                        Attorney for Defendant
21
22
23
24
25
26
27
28


     Waiver of appearance                     2
             Case 2:11-cr-00490-DAD Document 94 Filed 01/25/13 Page 3 of 3


 1
 2         IT IS SO ORDERED.
 3
           Dated: January 24, 2013
 4
 5
 6                                     /s/ John A. Mendez
                                     _____________________________
 7                                  THE HONORABLE JOHN A. MENDEZ
                                    United States District Court
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     Waiver of appearance                     3
